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ao 9~ ~xz~. ~ iis2~                                               CRIMINAL COMPLAINT
             UNITED STATES DISTRICT COURT                                   ~,              CENTRAL DISTRICT OF CALIFORNIA
                                                                                    DOCKET NO.
                 UNITED STATES OF AMERICA
                             v.
                    KEITH RALPH GARCIA                                              MnGis     T s~sE fro. o



                                        Complaint for violation of Title 18, United States Code, § 2199

                                                                                                                        LOCATION
  NAME OF MAGISTRATE JUDGE
                                                                                    UNITED STATES
  HONORABLE GAIL J. STANDISH                                                                                            Los Angeles, California
                                                                                    MAGISTRATE JUDGE

  DATES OF OFFENSES                                    PLACE OF OFFENSES            ADDRESS OF ACCUSED (IF KNQWN) -- - -
                                                                                                                           FILED
  December 8, 2017                                     Los Angeles County                                      CLERK.. U S. DISTRICT COURT

                                                                                                                   '~~ — ~ ~~
  COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:
                                                                                                                   a


                                                                          ~Ig U.s.C. § 2199
                                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                                              BY ~~~FPU?Y
          On or about December 8, 2017, in Los Angeles County, within the entra District of California,
  defenda ,,~ ~~H RALPH GARCIA knowingly boarded Turkish Airlines Flight No. TK 10 from Los Angeles
  to Istanbru~ TurI~ey, without the consent of the owner, charterer, master, or person in command of the aircraft.
                ' ~,. :,
                            ~='                                                                                                 FILED
                            -~-                                                                                      CLERK. U.S. DISTRICT COURT
               ~
               ~         .~~ _.

                   "~'
                , =~-~
               ~=
               -                                                                                                         JAS! . 2 2018
               t~ ~~
                          -
                  ~~ 'S CI-~RGE AGAINST THE ACCUSED:                                                               BY                        ~E
  BASIS OF COMPLAINANT

            (See attached affidavit which is incorporated as part of this Complaint)

   MATERIAL WITNESSES IN RELATION TO THIS CHARGE: NIA

                                                                     SIGNATURE OF COMPLAINANT ~~
  Being duly sworn, I declare that the                                                           +   ; '
                                                                     DANA R. MURPHY
  foregoing is true and correct to the best
  of my knowledge.                                                   oFF~cinL TITLE
                                                                     S ecial A ent—FBI
   Sworn to before me and subscribed in                     y presence,

                                                                                                                             DATE
   SIGNATURE OF MAGISTRATE JUDGE~~~

                                                                     ~       ----~' ~~~'~                                    January 2, 2018
 ~'~ See Federal Rules of Criminal P~ocedure 3       d 54

 AUSA KATHY YU,x. 2431                               REC°Detention
                                                 R
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                                T'C~TTTTTTTT




     I, Dana R. Murphy, being duly sworn, declare and state as

follows:

                          PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint against and arrest warrant for KEITH RALPH GARCIA

("GARCIA") for a violation of Title 18, United States Code,

Section 2199 (Stowaways on Aircraft).

     2.    This affidavit is also made in support of an

application for a warrant to search the digital devices seized

from GARCIA on December 31, 2017 ("GARCIA'S DIGITAL DEVICES"),

as described more fully in Attachment A, which is incorporated
                                                          of
by reference, for evidence, fruits, and instrumentalities

violations of Title 18, United States Code, Section 2199

(Stowaways on Aircraft) and Title 49, United States Code,
                                                              of
Section 46314 (Entering Aircraft or Airport Area In Violation

Security Requirements) (collectively, the "Target Offenses"), as

described more fully in Attachment B, which is also incorporated

by reference.

      3.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and
                                                            and
information obtained from various law enforcement personnel

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and
                                                           dge of
warrant and does not purport to set forth all of my knowle

the investigation into this matter.            Unless specifically



                                      1
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                                                 ments described
indicated otherwise, all conversations and state
                                               in part only.
in this affidavit are related in substance and
                                                          Y
           BACKGROUND FOR FBI SPECIAL AGENT DANA R. NNRPH
                                                         Bureau of
     4.     I am a Special Agent ("SA") with the Federal
                                                for
Investigation ("FBI") and have been so employed

approximately one year.      I am currently assigned to the Los

                                            e of the FBI, where I
Angeles International Airport ("LAX") Offic
                                                  within the
investigate violations of federal law which occur

airport environment and on board aircraft.
                                                         subjects,
      5.    My experience includes interviewing victims,
                                              video footage,
and witnesses, gathering documents, analyzing
                                                 assisting with
assisting with the execution of search warrants,
                                             surveillance, and
the execution of arrest warrants, conducting

serving grand jury subpoenas.       I also received training in

                                           FBI Special Agent
complex investigations while attending the

Academy in Quantico, Virginia.       I have also received on the job

                                             more experienced
training regarding stowaway cases from other
                                             cases.
agents on my team who have investigated such

                       Si7NIlKARY OF PROBABLE CAUSE
                                                      sh Airlines
      6.    On December 8, 2017, GARCIA boarded Turki
                                           bul, Turkey, without
Flight No. TK 10 from Los Angeles to Istan
                                           r, or person in
the consent of the owner, charterer, maste

command of the aircraft.       Because GARCIA was not a ticketed

                                          ssion from Turkish
passenger and did not otherwise have permi
                                         Turkish Airlines flight
Airlines to board Flight No. TK 10, when
                                            the flight, the
 attendants discovered GARCIA's presence on
                                            209.
 airplane had to be rerouted to Remote Gate

                                      2
                                                Instrumentality Protocol
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                                                          LAX,
     7.    On December 31, 2017, GARCIA was once again at

going up to the TSA screening level.         At the time of his arrest,

law enforcement found the GARCIA DIGITAL DEVICES.

                     STATEMENT OF PROBABLE CAUSE

                                                          my
     8.    Based on my review of law enforcement reports,

                                                  ers involved in
discussions with law enforcement agents and offic
                                               knowledge of the
the investigation, and my own observations and

investigation, I am aware of the following:

     A.    GARCIA Illegally Boards Flight No. TK 10
                                                             med
     9.    On December 8, 2017, FBI SA Wess T. Brooker infor

                                                  t No. TK 10,
me that GARCIA had boarded Turkish Airlines Fligh
                                              Turkey, but did
scheduled to depart Los Angeles for Istanbul,

not have a ticket.     SA Brooker told me that the flight did not

                                               Gate 209.
take off, but instead was redirected to Remote

     10.   On December 8, 2017, SA Brooker interviewed Mitra

                                              Turkish Airlines.
Tarkhasi ("Tarkhasi"), a Business Manager for

I learned from SA Brooker the following:

           a.    On December 8, 2017, Tarkhasi was working

                                               from Tom Bradley
outbound Flight No. TK 10, which was departing

International Terminal Gate 159.          After the flight was

                                                  closed, and
completely loaded, the doors of the aircraft were
                                                  ng to the
the flight departed from Gate 159 and began taxii

runway.

            b.   After the flight had left the gate, Tarkhasi

                                                   ning, and had
received a message that Flight No. TK 10 was retur
                                                     The flight crew
been assigned to return to Remote Gate 209.



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                                                   ed he/she
told Tarkhasi that one of the passengers had decid

wanted to get off of the flight.

            c.   Tarkhasi learned from on-board flight crew
                                                    ne was GARCIA
members that that the passenger who wanted to depla

in seat 40A.     Tarkhasi and the ground crew then looked at the
                                                        d
manifest for Flight No. TK 10, but GARCIA was not liste

anywhere on the manifest.      When they checked the manifest for

                                                  to GARCIA, or
seat 40A, they saw that the seat was not assigned

to any other passenger.

            d.    Tarkhasi went to Remote Gate 209 and met the

aircraft when the doors opened.       Tarkhasi asked GARCIA for an

identification card or driver's license.         When GARCIA reached

                                                  t was full of
into his pocket, Tarkhasi saw that GARCIA'S pocke
                                                  ding United
boarding passes for various other airlines, inclu
                                                           duffel
Airlines.    GARCIA was also carrying a large black canvas

bag.

            e.    Based on seeing GARCIA with numerous paper
                                                     d crew
boarding passes in his pocket, a member of the groun
                                                 was a passenger
contacted United Airlines to determine if GARCIA
                                                had somehow
with a planned itinerary on United Airlines who

ended up in the wrong boarding area.        A United Airlines

                                                any record of
representative confirmed that they did not have

GARCIA on any United Airlines flights.

            f.    The ground crew then checked the contents of

GARCIA's large black canvas duffel bag.         Within the duffel bag,

                                                  d magazines,
they found multiple small plastic bags with folde
                                                       other
pictures, printouts, two identification cards in names

                                      4
                                                Instrumentality Protocol
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than GARCIA, and other pieces of paper.        Tarkhasi saw that one

bag was full of boarding passes and receipts.         Along with a

                                                    boarding
colleague, Tarkhasi checked all of the names on the
                                                    passes had
passes in the bag and saw that none of the boarding

GARCIA's name.

            g.   When a member of the flight crew handed back
                                                 rip the
these boarding passes to GARCIA, GARCIA began to
                                                   hide them, so
boarding passes, as if he was trying to destroy or

Tarkhasi took the boarding passes away from GARCIA.

            h.   Turkish Airlines then contacted Customs and
                                                 relating to
Border Protection ("CBP") to report the incident
                                                                e
GARCIA.     However, before CBP officers could respond to Remot

Gate 209, GARCIA left the area.       Tarkhasi explained that GARCIA

                                                   eld.          Tarkhasi
exited the gate area and walked out onto the airfi
                                                  A had boarded a
heard later from an LAX police officer that GARCI

transportation bus for a different airline.

     B.      Review of LAX Surveillance Video
                                                             on
     11.     To better understand how GARCIA was able to get
                                                the FBI obtained
Flight No. TK 10 without a valid boarding pass,
                                                 2017.
LAX security surveillance video from December 8,
                                                                 a
      12.    On December 12, 2017, I reviewed the security camer
                                                  2017.           From my
video of Gate 159 from the evening of December 8,

review of the video, I learned the following:




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            a.   Turkish Airlines employee Rana Hammed Aslaml was
                                                           ng
at the gate scanning boarding passes for passengers boardi

Flight No. TK 10.

            b.   I saw GARCIA standing to one side of Aslam, and

he appeared to be talking on his cellphone.         Then, when Aslam

                                                            a
turned to scan the boarding pass of a female passenger with
                                                              ng
red coat, GARCIA walked behind Aslam's back, passed the boardi

pass scanning stations without presenting a boarding pass, and

entered the hallway to the jet bridge.

            c.   Immediately after entering the hallway, GARCIA

appeared to have a brief conversation with Turkish Airlines

employee Behnam Sadraei, and then proceeded towards the jet

bridge to board Flight No. TK 10.

     C.     GARCIA Is Found Again at LAX

     13.    As a result of GARCIA's actions on December 8, 2017, a

Be On the Lookout ("BOLO") featuring a photograph and
                                                            rs at
description of GARCIA was issued for law enforcement partne



            On December 31, 2017, at approximately 3:00 p.m.,
                                                              TAX
     14.
                                                           ption.
Police Officer Michael Law saw someone matching the descri

of GARCIA that was in the BOLO.

      15.   Officer Law and other officers then followed GARCIA as

he moved up an escalator to the TSA screening level.

      16.   Officer Law and Office Ngna Lee asked GARCIA for his

identification, and based on the identification provided by


     1 Turkish Airlines employees Mitra Tarkhasi and Ozlem Giroux
helped me identify the Turkish Airline employees in the video.

                                     6
                                                Instrumentality Protocol
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                                                       A in the
GARCIA, was able to confirm that he was the same GARCI

BOLO.
                                                             cted a
        17.   Officer Lee and Officer Takeshi Komiyama condu

                                                        Officers
search of GARCIA's person and black duffel bag.

located the following:

              a.   A black LG phone, model number LG-TP450, in the

chest pocket of GARCIA's jacket; and

              b.   A True 3G, Super Hero model, in a black satchel

inside GARCIA's black duffel bag.

        D.    Investigation of GARCIA is Ongoing
                                                              and
        18.   On December 31, 2017, I learned from LAX Police

                                              on or about
other law enforcement agents that previously,
                                                   29, 2017,
December 16, 2017, December 17, 2017, and December

GARCIA was seen at LAX again.
                                                                have
        19.   Based on our investigation so far, GARCIA did not

                                                      r.
any incoming or outgoing flights on those dates eithe
                                                            SES
         TRAINING AND EXPERIENCE REGARDING THE TARGET OFFEN
                                                               as
        20.   Based on my knowledge, training, and experience,

                                                  , TSA requires
well as information related to me by other agents
                                                tion to match a
a passenger to present a valid photo identifica

valid boarding pass.      A valid boarding pass can either be paper

                                                 sued identifier
or digital (as in, a barcode or other airline-is

on a phone that is capable of scanning).         For digital boarding

                                                 pass has been
passes, I also know that once a digital boarding
                                                  automatically
used at a TSA screening checkpoint, it may not be

deleted from the digital device.          Therefore, expired digital

                                                 for years.
boarding passes could remain on a digital device

                                      7
                                                 Instrumentality Protocol
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     21.    Based on my knowledge, training, experience, as well
                                                         nes
as information related to me by other agents, many airli
                                                       gh web
allow passengers to "check in" for their flights throu

browsers or airline-specific applications.         These airline-

                                                     change, or
specific applications allow users to check in, book,
                                                       passes,
cancel air reservations, access their digital boarding

and review their past itineraries.        These airline-specific

applications also allow users to take photos of their
                                                           s.
itineraries and boarding passes, and to send them to other

     22.    Based on my knowledge, training, and experience, as
                                                         iduals
well as information related to me by other agents, indiv
                                                         ss
who attempt to evade security requirements tend to posse
                                                        ities,
documents and records reflecting their fraudulent activ
                                                         pts to
including personal information of others, previous attem
                                                    practices.
evade security, and notes regarding airline and TSA
                                                         ronic
Such documents and records tend to be preserved in elect

form on digital devices.

                 TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      23.   Based on my knowledge, training, and experience, as
                                                       involved
well as information related to me by agents and others
                                                       that it
in the forensic examination of digital devices, I know
                                                     digital
is not always possible to search digital devices for
                                                    a number of
data in a single day or even over several weeks for

reasons, including the following:

            a.    Searching digital devices can be a highly

technical process that requires specific expertise and

specialized equipment.      There are so many types of digital

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                                                         time to
devices and software programs in use today that it takes

conduct a thorough search.       In addition, it may be necessary to

                                                         ic
consult with specially trained personnel who have specif
                                                          , and
expertise in the type of digital device, operating system

software application being searched.

            b.    Digital data is particularly vulnerable to

inadvertent or intentional modification or destruction.

Searching digital devices can require the use of precise,

scientific procedures that are designed to maintain the
                                                           ,
 integrity of digital data and to recover "hidden," erased

 compressed, encrypted, or password-protected data.          As a result,

                                                            tory
 a controlled environment, such as a law enforcement labora
                                                          te and
 or similar facility, is essential to conducting a comple

 accurate analysis of data stored on digital devices.

            c.    The amount of storage space on GARCIA'S DIGITAL

 DEVICE is currently unknown.       A single megabyte of storage space

 is the equivalent of 500 double-spaced pages of text.           A single

                                                       equivalent
 gigabyte of storage space, or 1,000 megabytes, is the

 of 500,000 double-spaced pages of text.

             d.   Electronic files or remnants of such files can be
                                                     downloaded
 recovered months or even years after they have been

 onto a hard drive, deleted, or viewed via the Internet.2
                                                      for years
 Electronic files saved to a hard drive can be stored

 with little or no cost.      Even when such files have been deleted,


                                                                 in
      2 These statements do not generally apply to data stored
                                      s memory , or "RAM," which
 volatile memory such as random-acces
                                                         turned
 data is, generally speaking, deleted once a device is
 off.

                                       9
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they can be recovered months or years later using readily-

available forensics tools.       Normally, when a person deletes a

file on a computer, the data contained in the file does not
                                                          drive
actually disappear; rather, that data remains on the hard

until it is overwritten by new data.        Therefore, deleted files,

                                                          slack
or remnants of deleted files, may reside in free space or
                                                            an
space, i.e., space on a hard drive that is not allocated to
                                                           ted to
active file or that is unused after a file has been alloca

a set block of storage space, for long periods of time before

they are overwritten.      In addition, a computer's operating

system may also keep a record of deleted data in a swap or

 recovery file.    Similarly, files that have been viewed on the

 Internet are often automatically downloaded into a temporary

 directory or cache.     The browser typically maintains a fixed

                                                            files
 amount of hard drive space devoted to these files, and the
                                                            ly
 are only overwritten as they are replaced with more recent

 downloaded or viewed content.       Thus, the ability to retrieve

                                                              on
 residue of an electronic file from a hard drive depends less

 when the file was downloaded or viewed than on a particular
                                                                .
 user's operating system, storage capacity, and computer habits

 Recovery of residue of electronic files from a hard drive

 requires specialized tools and a controlled laboratory

 environment.     Recovery also can require substantial time.

             e.    Although some of the records called for by this
                                                             nts
 warrant might be found in the form of user-generated docume
                                                             l
 (such as word processing, picture, and movie files), digita
                                                           well.
 devices can contain other forms of electronic evidence as

                                      10
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                                        device has been used,
In particular, records of how a digital
                                        it, and who has been
what it has been used for, who has used
                                        records, documents,
responsible for creating or maintaining
                                      contained on the digital
 programs, applications and materials
                                          attachments, called for
 devices are, as described further in the
                                                           d in
 by this warrant.    Those records will not always be foun

                                        from the hard drive image
 digital data that is neatly segregable
                                                        ently
 as a whole.    Digital data on the hard drive not curr
                                           ence of a file that was
 associated with any file can provide evid
                                            deleted or edited, or
 once on the hard drive but has since been
                                         a paragraph that has
 of a deleted portion of a file (such as
                                          ).        Virtual memory
 been deleted from a word processing file
                                       on the hard drive that
 paging systems can leave digital data
                                      computer were recently
 show what tasks and processes on the
                                                 programs often
 used.   Web browsers, e-mail programs, and chat
                                      drive that can reveal
 store configuration data on the hard
                                          passwords.           Operating
 information such as online nicknames and
                                     such as the attachment of
 systems can record additional data,
                                         h storage devices, and
 peripherals, the attachment of USB flas
                                            Computer file systems can
 the times the computer was in use.
                                        created and the sequence
 record data about the dates files were

  in which they were created.      This data can be evidence of a

                                      user of the digital device,
  crime, indicate the identity of the
                                        ence in other locations.
  or point toward the existence of evid
                                          zed tools and a
  Recovery of this data requires speciali
                                         also can require
  controlled laboratory environment, and

  substantial time.

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            f.    Further, evidence of how a digital device has
                                                  used it, may
been used, what it has been used for, and who has
                                                     e.          For
be the absence of particular data on a digital devic
                                                   al device was
example, to rebut a claim that the owner of a digit
                                                 device was
not responsible for a particular use because the
                                                 it may be
being controlled remotely by malicious software,
                                                     s someone
necessary to show that malicious software that allow
                                                   present on
else to control the digital device remotely is not

the digital device.      Evidence of the absence of particular data
                                                      al device.
 on a digital device is not segregable from the digit
                                                    strate the
 Analysis of the digital device as a whole to demon
                                                       and a
 absence of particular data requires specialized tools
                                                  re substantial
 controlled laboratory environment, and can requi

 time.

            g.    Digital device users can attempt to conceal data
                                                  ds, including
 within digital devices through a number of metho
                                                  extensions.
 the use of innocuous or misleading filenames and
                                                    are image
 For example, files with the extension ".jpg" often
                                                    sion to ".txt"
 files; however, a user can easily change the exten
                                                  file contains
 to conceal the image and make it appear that the
                                                               by
 text.   Digital device users can also attempt to conceal data
                                                  device, such as
 using encryption, which means that a password or
                                                  the data into
 a "dongle" or "keycard," is necessary to decrypt

 readable form.     In addition, digital device users can conceal
                                                   uous file in a
 data within another seemingly unrelated and innoc

 process called "steganography."        For example, by using

                                               al text in an image
 steganography a digital device user can conce

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                                          file is opened.
file that cannot be viewed when the image
                                              " that destroy or
Digital devices may also contain "booby traps
                                         scrupulously followed.
alter data if certain procedures are not
                                          to extract and sort
A substantial amount of time is necessary
                                           or subject to booby
through data that is concealed, encrypted,
                                             contraband or
 traps, to determine whether it is evidence,

 instrumentalities of a crime.
                                                       to my
      24.   Other than what has been described herein,
                                            pted to obtain this
 knowledge, the United States has not attem

 data by other means.

 //

 //




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                                CONCLUSION

                                                     e is probable
      25.   For all the reasons described above, ther

                                          d a violation of Title
cause to believe that GARCIA has committe

18, United States Code, ~ 2199.
                                                    believe that
      26.   Furthermore, there is probable cause to

                                         of the Target Offenses
 evidence, fruits, and instrumentalities
                                           ribed in Attachment A.
 will be found on the digital devices desc




                                            Dana R. Murphy
                                            Special Agent
                                            Federal Bureau of
                                            Investigation


 Subscri    d to and sworn before me
 this ~      day of January 20k8.




 HON    B  GAIL J. ST~HTS~
 UN TEI~ TATES MAGISTRATE JUDGE




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